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                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

                                     §
MOISES AGUILAR, JR.,                 §
                                     §
            Plaintiff,               §
                                     §      Civil Action No. 3:17-cv-01165-B
v.                                   §
                                     §
OCWEN LOAN SERVICING, LLC AND §
OCWEN MORTGAGE SERVICING,            §
INC.,                                §
                                     §
            Defendants.              §
______________________________________________________________________________


        DEFENDANTS’ RULE 12(b)(6) MOTION TO DISMISS PLAINTIFF’S
           COMPLAINT AND MEMORANDUM OF LAW IN SUPPORT

______________________________________________________________________________
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       Defendants Ocwen Loan Servicing, LLC (“OLS”) and Ocwen Mortgage Servicing, Inc.

(“OMS”) hereby move to dismiss Plaintiff’s Complaint (“Complaint”) under Rule 12(b)(6) of the

Federal Rules of Civil Procedure.

                                        INTRODUCTION

       Plaintiff’s generic Complaint offers nothing more than boilerplate and stale allegations to

support his claims. Indeed, it is nearly identical to the 25 complaints filed by Plaintiff’s counsel

against OLS and OMS between May 3, 2017 and May 8, 2017, in this State alone. Each

complaint contains the same fatal defects.

       First, although a substantial portion of the conduct at issue is alleged to have occurred in

2014 or earlier, Plaintiff did not file the instant action until May 3, 2017. Plaintiff’s own

allegations thus make clear that the claims are substantially time-barred. Plaintiff attempts to

revive these stale claims by arguing that they are tolled due to an earlier filed putative class

action and the Supreme Court’s decision in American Pipe & Construction v. State of Utah, 414

U.S. 538 (1974). (See Compl. at ¶ 7.) The class action tolling doctrine announced in American

Pipe, however, does not apply where, as here, Plaintiff chooses to file an independent action

prior to the certification decision being rendered in the earlier filed class action or where the

asserted claims and parties are not identical to those alleged in the class action. Accordingly,

each claim is significantly limited by the applicable statute of limitations.

       Second, stripped of its conclusory allegations, the Complaint does not include sufficient

factual allegations against OLS or OMS to set forth plausible claims against either as required

under the pleading standard set forth by the Supreme Court in Bell Atlantic Corp. v. Twombly,

550 U.S. 544 (2007) and in Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Indeed, it is well-

established that this type of “group pleading”—wherein Plaintiff improperly lumps both

Defendants together and does not assert any specific factual allegations against either OLS or
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OMS—fails to meet the pleading requirements of Rule 8. Gurganus v. Furniss, No. 3:15-cv-

03964, 2016 WL 3745684, at *5 (N.D. Tex. Jul. 13, 2016) (Lynn, J.). Each claim is subject to

dismissal on this ground alone.

       Third, Plaintiff has failed to plead the necessary elements and factual allegations to

support his state law claims. Specifically, the Court should dismiss the state law claims for

negligence (count III), negligence per se (count IV), violation of the Texas Debt Collection Act

(“TDCA,” count V), violation of the Texas Deceptive Trade Practices Act (“DTPA,” count VI),

and breach of the common law tort of unreasonable collection efforts (count VII) under Fed. R.

Civ. P. 12(b)(6), because Plaintiff has not and cannot allege: (1) any plausible conduct by

Defendants within the narrow statute of limitations period to support each claim; (2) a duty owed

by Defendants to Plaintiff, much less any damages, to support the negligence claims; (3) any

plausible actual damages to support the TDCA claim; (4) that he is a consumer under the DTPA;

and (5) the heightened conduct or recoverable damages to support his unreasonable collection

efforts claim.

       Accordingly, Plaintiff’s Complaint should be dismissed, with prejudice.

                                  FACTUAL ALLEGATIONS

       On May 3, 2017, Plaintiff filed the instant action, asserting seven claims against OLS and

OMS: (1) negligent violation of the TCPA, (2) knowing and/or willful violation of the TCPA, (3)

negligence, (4) negligence per se – TCPA, (5) violation of the TDCA, (6) violation of the DTPA,

and (7) breach of the common law tory of unreasonable collection efforts. These allegations and

claims are nearly identical to the 25 complaints filed by Plaintiff’s counsel in this State alone,

and identified as related actions in Plaintiff’s Addendum to the Complaint. (See ECF No. 1-1.)

       The crux of each claim is the allegation that between March 30, 2011 and December 13,

2015, Defendants purportedly placed numerous calls to Plaintiff’s cellular telephone number.


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(See Compl. ¶¶ 25.) Other than these bare-bones assertions, no further conduct is alleged to have

been conducted by Defendants. Indeed, rather than even identifying what conduct was allegedly

committed by OLS as opposed to OMS, Plaintiff merely lumps both Defendants together in each

paragraph, alleging that somehow each call was simultaneously placed by both Defendants with

the requisite intent to support his claims. (Compl. at ¶¶ 25, 27-46.)

        Importantly, a substantial portion of the alleged calls at issue are alleged to have been

placed by Defendants in 2014 or earlier. (Compl. at ¶ 30.) In contrast to the alleged calls in

2014, wherein Plaintiff attempts to include some conclusory assertions as to the purported calls,

there are no factual allegations whatsoever as to the nature, frequency, or number of calls

allegedly made by Defendants in 2015, nor are there allegations of any conduct whatsoever by

Defendants occurring after December 13, 2015. Notwithstanding that a substantial portion of the

alleged conduct occurred in 2014 or much earlier, Plaintiff waited until May 3, 2017, to file the

instant action.

        For the reasons set forth herein, each of Plaintiff’s claims are deficient and should be

dismissed.

                                          ARGUMENT

I.      Legal Standard

        To survive a motion to dismiss, a complaint must allege “more than an unadorned, the-

defendant-unlawfully-harmed-me accusation.” Iqbal, 556 U.S. at 678. While specific factual

allegations are not necessary, a complaint must provide the defendant fair notice of each claim

and the basis on which the plaintiff asserts it. Twombly, 550 U.S. at 555. “Threadbare recitals of

the elements of a cause of action, supported by mere conclusory statements,” do not pass muster.

Iqbal, 556 U.S. at 678. Nor do facts that are “merely consistent with a defendant’s liability.” Id.

(internal quotation marks omitted). The factual content must permit the court reasonably to infer


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that the defendant is liable for the specific wrong the plaintiff alleges. Id. The complaint must

demonstrate that it is plausible, not just possible, that the plaintiff is entitled to relief. Id. at 678.

In evaluating a motion to dismiss, the Court need not accept conclusory allegations as true.

Iqbal, 556 U.S. at 679. Instead, the Court need only accept allegations pleaded with specific

factual support that plausibly demonstrate an entitlement to relief. Id. When stripping Plaintiff’s

Complaint of the conclusory allegations, there is no factual support demonstrating plausible

entitlement to relief.

II.      The Statute of Limitations Significantly Limits Plaintiff’s Claims.

         A.     Plaintiff’s Claims Are Time Barred to the Extent They Rely Upon Conduct
                Outside of the Relevant Statute of Limitations Period.

         By Plaintiff’s own allegations, each of his claims arise solely from purported calls

received between March 30, 2011 and December 13, 2015. (Compl. at ¶ 25.) No conduct is

alleged to have taken place after December 16, 2015. Notwithstanding that Plaintiff would have

been well aware of this alleged conduct, he delayed until May 3, 2017 to file the present action.

Where, as here, the statute of limitations determination is apparent on the “face of the

complaint,” dismissal under Rule 12(b)(6) is appropriate. See Williams v. Chase Home Finance,

LLC, No. 3:13-cv-1307-G (BH), 2014 WL 46233, at *3 (N.D. Tex. Jan. 6, 2014) (Fish, J.).

         For the TCPA claim, Plaintiff is governed by a four-year statute of limitations. 28 U.S.C.

§ 1658(a). Each of Plaintiff’s state law claims are governed by a two-year statute of limitations.

See, e.g., Vine Street LLC v. Keeling, 361 F. Supp. 2d 600, 604 (E.D. Tex. 2005) (applying two-

year statute of limitations to negligence and negligence per se claims); Clark v. Deutsche Bank

Nat. Trust Co., No. 3:14–CV–3590–B, 2015 WL 4093948, at *8 (N.D. Tex. Jul. 7, 2015) (Boyle,

J.) (applying two-year statute of limitations to TDCA claim); Tex. Bus. & Comm. Code § 17.565

(providing two-year statute of limitations for DTPA claims); In re: Marcos F. Lopez, Adv. No.



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13-07019, 2015 WL 1207012, at *5 (S.D. Tex. Bankr. Mar. 12, 2015) (explaining that the

common law tort of unreasonable collection is an intentional tort and, thus, is subject to the two-

year statute of limitations period under Tex. Civ. Prac. & Rem. § 16.003).

       Accordingly, Plaintiff’s TCPA claim is barred to the extent it relies upon purported calls

placed before May 3, 2013, and Plaintiff’s state law claims are time barred to the extent they rely

upon purported conduct that occurred before May 3, 2015. And, because Plaintiff alleges no

conduct whatsoever occurring after December 13, 2015, Plaintiff’s state law claims are further

limited to the narrow window of May 3, 2015 to December 13, 2015. Each of these claims

should thus be dismissed, with prejudice, to the extent they purport to rely upon conduct outside

of the relevant statute of limitations period.

       B.      Plaintiff Cannot Rely Upon the American Pipe Tolling Doctrine to Salvage
               His Time Barred Claims.

       In tacit recognition that his claims are largely time barred, Plaintiff seeks to revive these

stale claims by alleging that they are “tolled due to the commencement of a class action based on

same or similar allegations in the matter of Keith Snyder, on behalf of himself and all others

similarly situated v. Ocwen Loan Servicing, LLC, Case No. 1:14-cv-8461 (the “Snyder Action”),

filed against Defendant on October 27, 2014 in the Northern District of Illinois.” (Compl. at ¶

7.) This assertion is misplaced.

       In American Pipe & Construction v. State of Utah, 414 U.S. 538, 554 (1974), the

Supreme Court recognized the tolling principle that the “commencement of a class action

suspends the applicable statute of limitations as to all asserted members of the class who would

have been parties had the suit been permitted to continue as a class action.” Plaintiff ignores,

however, that the American Pipe tolling doctrine is subject to two important limitations: (1) the

tolling doctrine does not apply to independent actions that are filed prior to the class certification



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decision, and (2) the tolling doctrine only applies where there is “complete identity” of the

causes of action.

       The facts of this case make clear that these limitations apply and, thus, tolling is not

appropriate. First, the certification decision has not yet been issued in the Snyder Action, with

the plaintiffs not even seeking certification until May 26, 2017—after the present action was

filed. See Snyder Action, ECF No. 216. Second, Plaintiff cannot demonstrate a “complete

identity” of the causes of action. Defendant OMS was not a party to the Snyder Action and, thus,

American Pipe does not apply to toll claims against an unnamed defendant. Furthermore, in

contrast to the seven claims asserted in the instant action, including five claims predicated upon

unique Texas laws, the plaintiffs in the Snyder Action have only sought certification of the TCPA

claims against Defendant OLS.1 Because both limitations apply here, the American Pipe tolling

doctrine is inapplicable.

               i.      Plaintiff Forfeited His Right to Tolling by Filing an Independent Action
                       Prior to the Class Certification Decision.

       In Crown, Cork & Seal Company, Inc. v. Parker, 462 U.S. 345, 354 (1983), the Supreme

Court explained that that “[o]nce the statute of limitations has been tolled, it remains tolled for

all members of the putative class until class certification is denied. At that point, class members

may choose to file their own suit or to intervene as plaintiffs in the pending action.” In other
       1
         A copy of the class action complaint filed in the Snyder Action on October 27, 2014, is
attached hereto in Defendants’ Appendix at pages 1-28. The Snyder Action Complaint also
included an FDCPA claim, however, the plaintiffs have not sought to certify that claim. See
Snyder Action, ECF No. 216. The Court may consider the Snyder Action Complaint in ruling on
the instant motion because it is referred to in Plaintiff’s Complaint and is central to his assertion
that his claims have been tolled. See Brand Coupon Network, L.L.C. v. Catalina Marketing
Corp., 748 F.3d 631, 634(5th Cir. 2014). Additionally, the Court may take judicial notice of the
Snyder Action Complaint and the related docket entries pursuant to Federal Rule of Evidence
201(b). See Bruce v. Nationstar Mortgage, No. 3:13-cv-3019-M-BH, 2015 WL 728028, at *3
(N.D. Tex. Feb. 19, 2015) (Lynn, J.) (holding that it is “also ‘clearly proper in deciding a
12(b)(6) motion to take judicial notice of matters of public record.’”).



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words, the Supreme Court indicated that the mechanism to take advantage of the tolling doctrine

is to file suit or intervene after the class certification decision. To hold otherwise, would

undermine the very “efficiency and economy of litigation” intended by the class action device

and American Pipe by allowing plaintiffs to rely on a pending class action rather than filing their

own separate lawsuits. American Pipe, 414 U.S. at 553.

       Based on this reasoning, numerous courts, including this one, have declined to apply the

tolling doctrine where, as here, plaintiffs file independent actions prior to the class certification

decision. Rahr v. Grant Thornton LLP, 142 F. Supp. 2d 793, 799-800 (N.D. Tex. 2000); see also

In re Verture Inc., 719 F. 3d 474, 480 (6th Cir. 2014) (reaffirming prior Sixth Circuit holding that

“a plaintiff who chooses to file an independent action without waiting for a determination on the

class certification issue may not rely on the American Pipe tolling doctrine”) (internal citations

omitted); Wyser-Pratte Mgmt. Co., Inc. v. Telxon Corp., 413 F. 3d 553, 568-69 (6th Cir. 2005)

(holding same and explaining that the “purposes of American Pipe tolling are not furthered when

plaintiffs file independent actions before decision on the issue of class certification, but are when

plaintiffs delay until the certification issue has been decided”); Glater v. Eli Lilly & Co., 712 F.

2d 735, 739 (1st Cir. 1983) (holding that the “policies behind Rule 23 and American Pipe would

not be served, and in fact would be disserved, by guaranteeing a separate suit at the same time

that a class action is ongoing”); In re Enron Corp. Sec. Litig., 465 F. Supp. 2d 687, 730 (S.D.

Tex. 2006) (agreeing with the “reasoning of the majority of courts addressing the issue” to

conclude that the plaintiffs were not entitled to tolling under American Pipe because they filed

their independent action “before a decision on class certification” was made; explaining that

these “actions constitute the inefficiency of multiple suits prior to class certification that the

American Pipe tolling doctrine was developed to avoid.”); Rogers v. Nacchio, No. 05-60667-




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CIV, 2006 WL 7997562, at *3 (S.D. Fla. Jun. 6, 2006) (holding same and explaining that the

purposes of American Pipe “include the avoidance of a rash of individual suits by litigants

seeking relief that duplicates the relief that a pending class seeks”); Chinn v. Giant Food, Inc.,

100 F. Supp. 2d 331, 335 (D. Md. 2000) (holding that American Pipe tolling does not apply “to

protect the individual plaintiff who files an independent action after the statute of limitations has

expired but before a certification decision has been rendered in a timely class complaint which

supposedly includes the plaintiff”) (internal citations omitted).2

       Indeed, in Rahr v. Grant Thornton LLP, 142 F. Supp. 2d 793, 799-800 (N.D. Tex. 2000)

Judge Fish confirmed that the “class action tolling doctrine, [] was never intended to apply to

plaintiffs like Rahr who file separate suits prior to a decision being reached on the class

certification issue.” (emphasis in original). “None of the judicial efficiency purposes of the

doctrine is served by applying it to plaintiffs who voluntarily pursue their individual claims even

before the court determined whether the class is viable.” Id. at 800 (compiling authorities

holding same). Instead, Judge Fish held that

       These cases make clear that the class action tolling doctrine is intended to avoid
       the injustice and judicial inefficiency of requiring putative class members to file
       individual suits or to lose their claims. It is not intended to be a tool to manipulate
       limitations periods for parties who, intending all along to pursue individual
       claims, assert reliance on the proposed class action just long enough to validate
       their otherwise time barred claims. See Wachovia [Bank & Trust Company, N.A.
       v. National Student Marketing Corporation], 461 F.Supp. [999,] at 1012 [(D.D.C.
       1978)]. Here, by filing an individual suit before class certification was

       2
         But see, e.g., In re Worldcom Sec. Litig., 496 F. 3d 245, 255 (2d Cir. 2007) (holding that
the American Pipe tolling doctrine applied to class members who filed individual suits before
class certification is resolved); In re Hanford Nuclear Reservation Litig., 534 F.3d 986, 1009
(9th Cir. 2008) (holding same). The Fifth Circuit has not directly addressed this issue but has
noted in dicta “that there appears to be a very real controversy” as to whether “American Pipe
[applies] to situations in which a class action member opts out and files separate suit.” Wood v.
Combustion Engineering, Inc., 643 F. 2d 339, 346-47 (5th Cir. 1981) (further noting that
“[w]hile this question is an interesting one, and one which this court has apparently never
squarely faced, we decline to pass on the question at this time”).


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       determined, Rahr frustrated the purpose of the class action tolling doctrine and
       should not now be able to reap its benefits. Accordingly, the court finds that the
       class action in Krogman v. Grant Thornton did not toll the statute of limitations
       for Rahr’s claims in this case.

Id. at 800. By filing an independent action before the certification decision has been rendered,

plaintiffs “have in effect opted out prior to the decision on class certification and thereby

forfeited their right to the benefits of the American Pipe tolling.” In re Enron Corp. Sec. Litig.,

465 F. Supp. 2d at 730.

       That is exactly the case here.       By filing an independent action prior to the class

certification decision in the Snyder Action, none of the “efficienc[ies] and econom[ies] of

litigation” intended by the class action device and American Pipe are furthered. American Pipe,

414 U.S. at 553. Instead, Plaintiff has effectively opted out of the class and forfeited his right to

American Pipe tolling.

               ii.     The American Pipe Tolling Doctrine Does Not Apply Because There Is
                       Not a “Complete Identity” of the Claims and Parties.

       Plaintiff also cannot rely upon the American Pipe tolling doctrine when he cannot

demonstrate a “complete identity” of his claims with the Snyder Action.      The Supreme Court

has made clear that the American Pipe decision “depended heavily on the fact that those filings

involved exactly the same cause of action subsequently asserted.” Johnson v. Railway Express

Agency, Inc., 421 U.S. 454, 467 (1975). As a result, the Supreme Court explained that “[o]nly

where there is complete identity of the causes of action will the protections [against the running

of the statute of limitations] necessarily exist.” Id. at 487 n. 14; see also In re Commonwealth

Oil/Tesoro Petroleum Corp. Sec. Litig., 467 F. Supp. 227, 259-60 (W.D. Tex. 1979) (declining to

apply the American Pipe tolling where the claim at issue did “not constitute ‘exactly the same

cause of action’” as the class claim). As Justice Powell summarized in his concurring opinion,

“[c]laims to which the defendant was not fairly placed on notice by the class suit are not


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protected under American Pipe and are barred by the statute of limitations.” Crown, Cork &

Seal Company, Inc., 462 U.S. at 355.

       Here, Plaintiff has not alleged and cannot demonstrate a “complete identity” of the causes

of action. Johnson, 421 U.S. at 487 n. 14. First, Plaintiff has no “identity” of claims with

Defendant OMS, when OMS was not even a party to the Snyder Action. OMS certainly had no

notice from the Snyder Action—when the claims at issue in that action were directed solely to

OLS—that it would be later dragged into the present suit and, thus, American Pipe does not

apply to toll any claims as to OMS. See In re Enron Corp. Sec. Litig., 465 F. Supp. 2d at 730

(holding that “American Pipe tolling based on the Newby class action cannot apply to claims

against Defendants not named in Newby”; explaining that “because these parties were not

named” they were “thus not on notice of the claims against them” in order for tolling to apply);

see also Wyser-Pratte, 413 F. 3d at 567 (rejecting the claim that American Pipe tolling applied to

a defendant that was not named in the class action; noting that the “few cases that have

considered similar situations have held that class action tolling does not apply to a defendant not

named in the class action complaint”).

       Second, plaintiffs have only sought to certify TCPA claims in the Snyder Action. By

contrast, in addition to two TCPA claims, Plaintiff has asserted five unique Texas law claims that

have not been pled as part of the putative nationwide class in the Snyder Action. Indeed, as

discussed in detail below, these state law claims require very different proof, including evidence

of a common law duty and heightened intent and damages, then the limited claims sought to be

certified in the Snyder Action. See infra at pgs. 14-23. Because Plaintiff cannot demonstrate

complete identity of the present claims with the claims sought to be certified in the Snyder




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Action, Defendants were “not fairly placed on notice by the class suit” and Plaintiff is not

“protected under American Pipe.” Id.

III.   Plaintiff Fails to State Claims Satisfying Twombly’s Plausibility Standard.

       A.      The Complaint Does Not Contain Specific Allegations Against OLS and
               OMS Sufficient to State Any Plausible Claims.

       Plaintiff’s Complaint fails to differentiate between OLS and OMS. Nowhere in the

Complaint does Plaintiff specifically identify the wrongful conduct each Defendant is alleged to

have committed. Plaintiff does not allege which Defendant purportedly placed each call, much

less how each Defendant performed the necessary elements or acted with the requisite intent to

support each claim.

       This pleading tactic of “lumping” defendants together is clearly improper under Rule 8(a)

because it fails to provide a factual basis to distinguish their conduct or put OLS and OMS on

notice of the wrongdoing they are alleged to have committed. Gurganus v. Furniss, No. 3:15-cv-

03964, 2016 WL 3745684, at *5 (N.D. Tex. Jul. 13, 2016) (Lynn, J.). And, by electing to lump

all of the defendants together, Plaintiffs have made the mistake of filing a Complaint that does

not contain “sufficient factual matter … to ‘state a claim to relief that is plausible on its face.’’

Iqbal, 556 U.S. 662, 678 (quoting Twombly, 550 U.S. at 570). Accordingly, the TCPA claims

and the state law claims are subject to dismissal on this basis alone.

       B.      Plaintiffs Fails to Plead Any Factual Support Within the Two-Year Statute of
               Limitations to Support the State Law Claims.

       Each of the state law claims are subject to a two-year statute of limitations. (See supra at

pgs. 4-5.) Because Plaintiff filed suit on May 3, 2017, and alleges no conduct after December

13, 2015 (Compl. at ¶ 25), Plaintiff’s state law claims are limited to the narrow window of May

3, 2015 to December 13, 2015. Yet, other than the generic allegation that between March 30,

2011 and December 13, 2015, Defendants “called Plaintiff,” Plaintiff has alleged no conduct by


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OLS or OMS in the two-year statute of limitations period to support his claims. (Compare

Compl. at ¶ 25, with ¶¶ 60-92.) There are no factual allegations as to the nature, date, time,

frequency, or number of the calls during this narrow period of May 3, 2015 to December 13,

2015, to plausibly infer that the calls were somehow negligent, harassing, unreasonable, or in

violation of the DTPA or TDCA, or which Defendant is alleged to have placed any such calls. In

fact, the only call information alleged in the Complaint, relates solely to purported conduct in

2014—well outside of the statute of limitations for these claims. (Compl. at ¶ 30 (describing the

alleged date, number, and frequency of calls in 2014, but no such allegations as to any other time

period).)

       The Supreme Court made clear that this Court need only accept allegations pleaded with

specific factual support that plausibly demonstrate an entitlement to relief. Iqbal, 556 U.S. at

679. Because Plaintiff has failed to allege any facts plausibly suggesting any conduct by

Defendants between May 3, 2015 to December 13, 2015, each of Plaintiff’s state law claims

should be dismissed in their entirety.

       C.      Plaintiff Fails to Plead the Requisite Elements to Allege Plausible Negligence
               and Negligence Per Se Claims.

               i.      Plaintiff Has Not and Cannot Allege Any Duty Owed by Either OMS or
                       OLS to Plaintiff.

       Plaintiff’s negligence claims fail because Plaintiff has not and cannot allege the existence

of any duty owed by Defendants to Plaintiff. The elements of a negligence cause of action are

“(1) a legal duty owed by one person to another; (2) breach of that duty; and (3) damages

proximately caused by the breach.” Miller v. CitiMortgage, Inc., 970 F. Supp. 2d 568, 585 (N.D.

Tex. Sep. 5, 2013) (Lindsay, J.) (citing Lane v. Haliburton, 529 F. 3d 548, 565 (5th Cir. 2008)).

Whether Defendants owed a duty to Plaintiff is a “threshold inquiry in a negligence claim.”




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Fraley v. BAC Home Loans Servicing, LP, No. 3:11-CV-1060-N-BK, 2012 WL 779130, at *8

(N.D. Tex. Jan. 10, 2012). “If there is no legal duty, liability for negligence cannot exist.” Id.

       Yet, Plaintiff alleges no facts to plausibly suggest that either OLS or OMS owed any duty

to Plaintiff. Specifically, Plaintiff’s sole allegation is the conclusory assertion that “Defendants

had a duty to use care” (Compl. at ¶ 61); yet merely stating that Defendants owe a duty, without

identifying any factual basis, is not enough. Nowhere does Plaintiff allege any facts plausibly

suggesting what duty of care was owed, how such duty arose, or even which Defendant

purportedly owed Plaintiff the duty of care. This single allegation, without any additional

supporting facts, constitutes exactly the type of “[t]hreadbare recitals of the elements of a cause

of action, supported by mere conclusory statements,” that does not pass muster as a matter of

law. Iqbal, 556 U.S. at 678.

       The fact that Plaintiff has not even attempted to allege a plausible duty is not surprising

when Plaintiff cannot do so as a matter of law. The contract between a lender and borrower does

not give rise to any duty that would support a negligence claim. FDIC v. Coleman, 795 S.W.2d

706, 709 (Tex. 1990); see also UMLIC VP LLC v. T & M Sales & Envtl. Sys., Inc., 176 S.W.3d

595, 612 (Tex. App.—Corpus Christi 2005, pet. denied) (“Texas courts have found no special

relationship between a mortgagor and mortgagee”). Further, under Texas law, “there is no

special relationship between a mortgagor and mortgagee, or between a servicer and a borrower,

that would impose an independent common law duty on Defendant.” See Miller, 970 F. Supp. at

585; see also Carillo v. Bank of America, N.A., No. H-12-3096, 2013 WL 1558320 at *5 (S.D.

Tex. Apr. 11, 2013) (dismissing negligence claim against mortgage servicer; holding that

“[u]nder Texas law, ‘there is no special relationship between a mortgagor and mortgagee that

would give rise to a stand-alone duty of good faith and fair dealing.”).




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            Accordingly, Plaintiff has not alleged any facts plausibly suggesting any duty owed by

Defendants to Plaintiff, and the case law makes clear that Plaintiff’s cannot. As such, the

negligence claims should be dismissed with prejudice.

                  ii.    Plaintiff Has Not and Cannot Allege Any Damages to Plausibly Support
                         the Negligence and Negligence Per Se Claims.

           Damages are also a fundamental element to support a negligence claim and Plaintiff’s

conclusory allegation of harm is insufficient. See Miller, 970 F. Supp. 2d at 585. “To be entitled

to damages for negligence, a party must plead and prove either a personal injury or property

damage as contrasted to mere economic harm.” Express One Intern., Inc. v. Steinbeck, 53 S.W.

3d 895, 899 (Tex. App.—Dallas 2001).            “Damages resulting solely from economic harm

generally are not recoverable in simple negligence actions.” Id. at 898 (affirming judgment in

favor of the defendant on the negligence claim where the plaintiff alleged only economic

damages). General allegations of mental anguish are insufficient to meet the damages element of

a negligence claim. City of Tyler v. Likes, 962 S.W.2d 489, 496-98 (Tex. 1997) (holding that

mental anguish is only compensable where: (1) the defendant acted with intent or malice, (2) a

special relationship existed between the parties, or (3) the injury is so shocking or disturbing that

mental anguish was a foreseeable result, for example wrongful death cases or serious bodily

injury).

           Here, Plaintiff’s alleged damages are not sufficient under Texas law. Plaintiff does not

articulate any specific damages purportedly stemming from his negligence claims (Compl. at ¶¶

60-73), alleging only that Defendants’ conduct “caused Plaintiff damages” (id. at ¶ 43). Plaintiff

claims that he was “frustrated,” “distressed,” “disrupted,” suffered “emotional distress and

embarrassment,” lost cell phone battery life, lost time, and suffered “annoyance,” yet these

allegations are detached from reference to any specific claim and there are no allegations tying



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those alleged injuries to any conduct by Defendants during the narrow limitations period. (Id. at

¶¶ 38, 47-51.) At best, these allegations amount to conclusory allegations of economic damages

and mental anguish that City of Tyler makes clear are insufficient to support a negligence claim.

Therefore, Plaintiff’s negligence and negligence per se claims should be dismissed with

prejudice.

               iii.    Plaintiff’s Negligence Per Se Claim Fails as a Matter of Law Because
                       the TCPA Does Not Create a Common Law Duty.

       Plaintiff’s negligence per se claim fails on the additional ground that it is wholly

duplicative of Plaintiff’s claim for negligent violation of the TCPA claim (count I), and Plaintiff

cannot manufacture a separate cause of action that is detached from Texas common law.

       In Johnson v. Sawyer, the Fifth Circuit explained that “[d]uties set forth in federal law do

not, therefore, automatically create duties cognizable under local tort law.          The pertinent

question is whether the duties set forth in the federal law are analogous to those set forth in local

tort law.” 47 F. 3d 716, 729 (5th Cir. 1995) (internal citations omitted). “While Texas generally

recognizes the doctrine of negligence per se [] no Texas decision has been found applying the

doctrine to create a common law cause of action for a statutory violation where there is a

comprehensive and express statutory private cause of action for the statutory violation.” Id.

(emphasis in original). Thus, when “both the statute violated and the statute creating the cause of

action for that violation are federal” the Fifth Circuit concluded, “[w]e can think of no reason for

a Texas court to create a common law cause of action for the statutory violation in such a

circumstance.” Id. Instead, the Fifth Circuit “followed the principle that we will not create

‘innovative theories of recovery or defense’ under local law, but will rather merely apply it ‘as it

currently exists.’” Id. (internal citations omitted).




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       The TCPA contains a “comprehensive and express statutory private cause of action for

the statutory violation.” Id. Thus, under Johnson, Plaintiffs cannot “create” a common law

cause of action when no such duties exist under the Texas common law. Under settled Texas

law, there is no special relationship between a mortgagor and mortgagee, or between a servicer

and a borrower, that would impose an independent common law duty on Defendants. (See supra

at pg. 13.) Therefore, there is no duty under the TCPA that is analogous to those set forth in

local tort law that would permit the creation of a novel theory of recovery. As a result, in the

only Texas case uncovered that considered this question, the court flatly rejected the notion of

creating a negligence per se claim based upon alleged conduct that may be actionable under the

TCPA. See Chair King Inc. et al, v. GTE Mobilenet of Houston, Inc., 135 S.W.3d 365, 395-96

(Tex. App.—Houston 2004), overruled on other grounds, 184 S.W.3d 707 (Tex. 2006). Instead,

the court concluded that the plaintiff presented no “evidence giving rise to a common-law

negligence duty regarding the alleged actionable conduct.” Id. Because the case did “not involve

a claim deriving the duty from the common law . . . [it was] not an appropriate case for

negligence per se.” Id. (citing Perry v. S.N., 973 S.W.2d 301, at 306-07 (Tex. 1998)). No cases

since Chair King have found differently.3

       Courts around the country have similarly rejected efforts by plaintiffs to convert TCPA

violations into separate negligence claims. See, e.g., Saloila v. Municipal Services Bureau, No.

13-00544-HG-RLP, 2014 WL 3389395, at *9 (D. Haw. Jul. 9, 2014) (concluding that “Plaintiff

has not demonstrated that the TCPA provides a duty of care sufficient for a negligence cause of

       3
         This Court has also routinely rejected analogous attempts to apply negligence per se to
alleged violations of other federal statutes, such as the Fair Debt Collection Practices Act. See,
e.g., Bruce, 2015 WL 728028, at *4; Bent v. Mackie Wolfe Zientz & Mann, P.C., No. 3:13-cv-
2038-D, 2013 WL 4551614, at *6 (N.D. Tex. Aug. 28, 2013) (Fitzwater, J.); Thompson v.
Hughes, Watters & Askanase, No. 3:13-cv-429-G-BH, 2013 WL 4441979, at *10 (N.D. Tex.
Aug. 20, 2013) (Fish, J.).


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action” and that “Plaintiff’s recourse for violations of the TCPA is the statutory remedies

themselves”); Adler v. Vision Lab Telecoms., Inc., 393 F. Supp. 2d 35, 41 (D.D.C. Oct. 17, 2005)

(dismissing plaintiff’s negligence claim; concluding that the plaintiffs “have not pointed to any

authority that might support the existence of the alleged duties. These duties would arise only

from the TCPA’s statutory proscriptions and not from any duty recognized in the common

law.”).

          There are no duties set forth in the TCPA “analogous to those set forth in local tort law.”

Johnson, 47 F. 3d at 729. Therefore, Plaintiff’s negligence per se claim fails as a matter of law

and should be dismissed with prejudice.

          D.     Plaintiff Fails to Plead a Plausible Claim for Violation of the TDCA.

          To prove a cause of action under the TDCA, plaintiff must show (1) defendants are debt

collectors, (2) defendants committed a wrongful act against plaintiff under the TDCA during

“debt collection,” and (3) plaintiff was damaged as a result of those wrongful acts. See Elston v.

Resolution Servs., 950 S.W.2d 180, 185 (Tex. App.―Austin 1997, no writ).

          This Court should dismiss Plaintiff’s TDCA claim because he fails to allege plausible

actual damages. “Texas courts have stated that a plaintiff who cannot prove actual damages

cannot ‘successfully maintain an action under the [Texas Debt Collection] Act.’” Narango v.

Universal Sur. of America, 679 F. Supp. 2d 787, 801 (S.D. Tex. 2010) (quoting Jackson Law

Office, P.C. v. Chappell, 37 S.W.3d 15, 30-31 (Tex. App.—Tyler 2000, pet. denied); Elston v.

Resolution Servs., Inc., 950 S.W.2d 180, 185 (Tex. App.—Austin 1997, no pet.)); but see

Marauder Corp. v. Beall, 301 S.W.3d 817, 823 (Tex. App.—Dallas 2009, reh'g denied) (holding

a TDCA action “may be for actual damages or an injunction”).

          Here, as with the negligence claims, Plaintiff’s alleged damages are not sufficient under

Texas law. Plaintiff does not articulate any specific damages purportedly stemming from his


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TDCA claim (Compl. at ¶¶ 74-80), alleging only that Defendants’ conduct “caused Plaintiff

damages” (id. at ¶ 77). Plaintiff claims that he was “frustrated,” “distressed,” “disrupted,”

suffered “emotional distress and embarrassment,” lost cell phone battery life, lost time, and

suffered “annoyance,” yet these allegations are detached from reference to any specific claim and

there are no allegations tying those alleged injuries to any conduct by Defendants during the

narrow limitations period. (Id. at ¶¶ 38, 47-51.). Accordingly, the TDCA claim fails in the

absence of any allegations of plausible actual damages.

       In addition, the TDCA claim fails because Plaintiff has not alleged any prohibited

behavior within the statute of limitations period to plausibly support this claim. Plaintiff’s

TDCA claim is predicated upon section 392.302(4), which prohibits debt collectors from

“causing a telephone to ring repeatedly or continuously, or making repeated or continuous

telephone calls, with the intent to harass a person at the called number.” Tex. Fin. Code Ann. §

392.302 (West 2017). Yet, the only allegations in the Complaint as to the nature, number, or

frequency of the calls relate entirely to alleged calls in 2014. (Compl. at ¶ 30.) This is well

outside of the two-year statute of limitations period for this claim. (Supra at pgs. 4-5.)

       Plaintiff alleges no repeated or continuous calls by either Defendant between the narrow

window of May 3, 2015 (the two-year limitations period) and December 13, 2015 (when Plaintiff

alleges the conduct at issue ceased) (Compl. at ¶ 25), much less any allegations plausibly

suggesting how such calls were placed by either OLS or OMS during that time period with the

requisite “intent to harass.” See Tex. Fin. Code Ann. § 392.302 (West 2017). Plaintiff has thus

failed to allege any plausible facts to state a TDCA claim. See Mathurin v. Wells Fargo, N.A.,

No. A-14-CA-708-SS, 2014 WL 4441963, at *2 (W.D. Tex. Sept. 9, 2014) (granting motion to

dismiss TDCA claim under section 392.302(4) on the ground that the “sparse allegations are




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insufficient to establish a plausible violation of section 392.302(4))”). As such, dismissal of

Plaintiff’s TDCA claim is appropriate.

       E.      Plaintiff Fails to Plead a Plausible Claim for Violation of the DTPA.

       Plaintiff’s DTPA claim fails because Plaintiff is not a “consumer” under the Act. While

the DTPA is a “tie-in” statute to the TDCA, Plaintiff must still allege plausible facts that he is a

“consumer” as defined in the DTPA. Woods v. Bank of America, N.A., No. 3:11-CV-1116-B,

2012 WL 1344343, at *7 (N.D. Tex. Apr. 17, 2012) (Boyle, J.) (citing Cushman v. GC Services,

L.P., 397 Fed. App’x 24, 27-29 (5th Cir. 2010)). To be considered a “consumer” under the

DTPA, one must “seek[ ] or acquire[ ] by purchase or lease, any goods or services.” Id. (citing

Tex. Bus. & Com. Code Ann. § 17.45(4)).

        “Texas Courts have consistently held that borrowing money does not constitute

acquisition of a good or service.” Woods, 2012 WL 1344343, at *7. Moreover, where, as here,

the “servicing or administration of the loan is merely incidental to a plaintiff’s prior objective to

purchase a residence, such events do not bestow consumer status upon the plaintiff for purposes

of the DTPA.” Id. Accordingly, in Woods, this Court dismissed the DTPA claim against the

mortgage servicer, with prejudice, because the plaintiff could not establish that he was a

consumer under the Act. Id; see also Hansberger v. EMC Mortg. Corp., No. 04-08000438-CV,

2009 WL 2264996, at *2 (Tex. App. Ct. July 29, 2009) (rejecting DTPA claim against mortgage

servicer; holding that the “services provided by [the mortgage servicer] served no purpose other

than to facilitate a mortgage loan acquired from another lender, and therefore, were not, as a

matter of law, a “good” or “service” contemplated by the DTPA”); Daryani v. Wells Fargo

Bank, N.A., No. 4:10-CV-05181, 2012 WL 3527924, at *6 (S.D. Tex. Aug. 13, 2012) (holding

that “servicing a loan is not a service under the DTPA and does not confer consumer status to

Plaintiffs”); Loyola v. American Homes for Rent Property II, LLC, No. A-13-CV-752 LY, 2014


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WL 12461966, at *9 (W.D. Tex. Feb. 13, 2014) (dismissing DTPA claim against mortgage

servicer; holding that because the claim was based on “conduct after the acquisition of the loan,”

the plaintiffs “lack consumer status for the purpose of the DTPA”).

       These cases are dispositive of this claim. Other than the conclusory allegation that he is a

“consumer” (Compl. at ¶ 19), Plaintiff fails to allege any “good” or “service” that he acquired

from Defendants. Nor can he do so, when it is well established that servicing a loan is not a

service under the DTPA. Accordingly, the DTPA claim should be dismissed, with prejudice, as

Plaintiff lacks statutory standing to pursue this claim as a matter of law.

       F.      Plaintiff Fails to Plead the Requisite Elements to Allege a Plausible
               Unreasonable Collection Efforts Claim.

               i.      Plaintiff Fails to Plead a Plausible Claim for Unreasonable Collection
                       Efforts.

       Plaintiff’s claim for unreasonable collection efforts is facially deficient, because he has

not alleged the heightened conduct required to plausibly plead this claim.          Unreasonable

collection is an “intentional tort covering a variety of conduct—so much so, that the elements of

unreasonable collection have often evaded precise definition.” Woods, 2012 WL 1344343, at *8.

As this Court explained, “Texas Courts have accepted, however, that the tort may be defined as

‘efforts that amount to a course of harassment that was willful, wanton, malicious, and intended

to inflict mental anguish and bodily harm.” Id. As a result, Texas courts generally reserve this

tort for actual collection efforts that “overstep the bounds of routine collection methods through

excessive harassment.”     Everhart v. CitiMortgage, Inc., No. CIV.A. H-12-1338, 2013 WL

264436, at *6 (S.D. Tex. Jan. 22, 2013) (granting motion to dismiss the unreasonable collection

claim where the plaintiff failed to allege that the defendant “engaged in any egregious or

unreasonable collection activities”).




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        As with the TDCA claim, Plaintiff’s unreasonable collection efforts claim is predicated

entirely upon alleged calls placed by Defendants. (Compl. at ¶ 86.) And, as with the TDCA

claim, the only allegations in the Complaint as to the nature, number, or frequency of the calls

relate entirely to alleged calls in 2014 – well outside the relevant limitations period. (Compl. at ¶

30; see also supra at pgs. 4-5.) There are no allegations of repeated or continuous calls by either

Defendant during the two-year limitations period of May 3, 2015 to December 13, 2015 (Compl.

at ¶ 25), much less any allegations plausibly suggesting “collection efforts that oversteps the

bounds of routine collection methods through excessive harassment.”            Everhart, 2013 WL

264436, at *6. Therefore, Plaintiff’s claim should be dismissed. See, e.g., Valdez v. Capital

Mgmt. Servs., LP, No. CIV.A. B:09-246, 2010 WL 4643272, at *16 (S.D. Tex. Nov. 16, 2010)

(granting motion to dismiss unreasonable collection efforts claim, concluding: “even assuming

outrageous conduct at some point during the collection process, none has been alleged within the

statute of limitations”).

        Plaintiff’s generic allegation that he received an unidentified number of calls between

May 3, 2015 and December 13, 2015 (Compl. at ¶ 25), is wholly inadequate to support a

plausible claim of excessive harassment outside the bounds of routine collection methods. See

Woods, 2012 WL 1344343, at *8 (granting motion to dismiss unreasonable collection claim

where the plaintiff’s allegations fell “well short of conduct constituting willful, wanton, and

malicious harassment” and, thus, the allegations were insufficient to support a claim). Even in

Gipson v. Deutsche Bank Nat’l Trust Co., where the plaintiff alleged that the defendant

“constantly” called him from May 2012 and December 2012, including calls several times per

month that were early in the morning and late at night, the allegations were insufficient to satisfy

the heightened pleading standard. Case No. 3:13-CV-4820-L, 2015 WL 2069583, at *9 (N.D.




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Tex. May 4, 2015) (Lindsay, J.) There the court held that “[e]ven viewed in the light most

favorable to him, [Gipson’s] allegations of several phone calls and mailings per month fail to

support a plausible claim of excessive harassment outside the bounds of routine collection

methods.” Id. (emphasis in original).

        Other than asserting conclusory allegations, Plaintiff has alleged no facts within the

statute of limitations period to plausibly support this claim. Therefore, Plaintiff’s claim for

unreasonable collection efforts should be dismissed. See Watson v. Citimortgage, Inc., 814 F.

Supp. 2d 726, 734 (E.D. Tex. 2011) (granting motion to dismiss unreasonable collection claim

where the plaintiff alleged only conclusory statements).

               ii.     Plaintiff Fails to Allege Any Recoverable Damages to Plausibly Support
                       the Unreasonable Collections Effort Claim.

        Plaintiff’s unreasonable collection efforts claim also fails because Plaintiff has not and

cannot allege that he suffered “some physical or other actual damages in order to be entitled to

relief.” Johnson v. JPMorgan Chase Bank, N.A., No. 4:12cv285, 2013 WL 2554415, at *14

(E.D. Tex. June 7, 2013).      Plaintiff merely alleges that he suffered “mental anguish and

emotional distress.” (Compl. at ¶ 89.) The Fifth Circuit has made clear that the “general rule in

Texas . . . is that mental anguish alone is insufficient to sustain a recovery of damages, at

common law, for unreasonable collection efforts.” McDonald v. Bennett, 674 F.2d 1080 (5th Cir.

1982); see also Rivera v. Bank of America, N.A., No. 4:13cv195, 2014 WL 2996159, at *8 (E.D.

Tex. Jul. 2, 2014) (holding that “mental anguish damages alone will not establish a right of

recovery; the plaintiff must suffer some physical or other actual damages in order to be entitled

to relief”).

        Plaintiff has not alleged adequate physical or other actual damages here. Therefore, the

unreasonable collection efforts claim fails on this additional ground.



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                                         CONCLUSION

       Based on the foregoing, Defendants Ocwen Loan Servicing, LLC and Ocwen Mortgage

Servicing, Inc. respectfully request that the Court dismiss Plaintiff’s Complaint.          Further,

because Plaintiff’s state law claims fail as a matter of law, Defendants request that those claims

be dismissed with prejudice.

       This 20th day of June, 2017.           Respectfully submitted,

                                              OCWEN LOAN SERVICING, LLC and
                                              OCWEN MORTGAGE SERVICING, INC.

                                              By their attorneys,

                                              /s/ Abigail M. Lyle
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 20th day of June, 2017, I electronically filed the foregoing via

the CM/ECF system for the Northern District of Texas, which sent notice of such filing to all

counsel of record.


                                              /s/ Abigail M. Lyle
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